               Case 2:25-cv-00241-BHS            Document 64         Filed 03/05/25        Page 1 of 3




 1                                                           THE HONORABLE BENJAMIN H. SETTLE

 2

 3

 4

 5

 6
                                       UNITED STATES DISTRICT COURT
 7                                    WESTERN DISTRICT OF WASHINGTON
                                                AT SEATTLE
 8

 9       COMMANDER EMILY SHILLING, et al.,                        No. 2:25-cv-241-BHS

10                      Plaintiffs,                               NOTICE PURSUANT TO THE
                                                                  COURT’S ORDER
11             v.

12       DONALD J. TRUMP, in his official capacity as
         President of the United States, et al.,
13
                        Defendants.
14

15             The Court’s March 5, 2025 Minute Order requires Defendants to notify Plaintiffs and the

16   Court if the Department of Defense or its subsidiaries “issues any policy or guidance

17   implementing the challenged Executive Orders in the military.”

18             At this time, Defendants are aware of the following such documents (new item(s) in bold):

19       28 Jan 2025         Dep’t of the Navy, Navy Recruiting Command, Decision Guidance
                             Memorandum #N00-30: Processing of Applicants Identifying as
20
                             Transgender.1
21       31 Jan 2025         Secretary of Defense, Defending Women from Gender Ideology Extremism
                             and Restoring Biological Truth to the Federal Government.2
22       04 Feb 2025         Dep’t of the Air Force, Office of the Assistant Secretary, Implementation of
                             Executive Order 14168, Defending Women from Gender Ideology Extremism
23                           and Restoring Biological Truth to the Federal Government.3
24   1
         ECF No. 58-1
25   2
         ECF No. 58-2
     3
26     See https://www.af.mil/News/Article-Display/Article/4054626/daf-releases-memorandum-on-implementation-of-
     executive-order-14168-defending-wo/
         NOTICE PURSUANT TO THE                                                                  U.S. DEPARTMENT OF
         COURT’S ORDER                                                                                  JUSTICE
         CASE NO. 2:25-CV-241-BHS                                                                   1100 L Street NW
                                                                                                  Washington, DC 20530
           Case 2:25-cv-00241-BHS           Document 64      Filed 03/05/25       Page 2 of 3




 1   04 Feb 2025          Dep’t of the Army, Office of the Assistant Secretary for Manpower and
                          Reserve Affairs: Implementing Guidance for Executive Order Defending
 2
                          Women.4
 3   07 Feb 2025          Secretary of Defense, Prioritizing Military Excellence and Readiness.5
     07 Feb 2025          Dep’t of the Army, Implementation of Executive Orders Related to
 4                        Transgender Military Service (“EXORD 150-25”).6
     14 Feb 2025          Dep’t of the Army, Fragmentary Order (“FRAGO”) 1, amending EXORD
 5                        150-25 (above).7
 6   26 Feb 2025          Office of the Under Secretary of Defense, Additional Guidance on
                          Prioritizing Military Excellence and Readiness.8
 7   28 Feb 2025          Office of the Under Secretary of Defense, Clarifying Guidance on
                          Prioritizing Military Excellence and Readiness.9
 8   01 Mar 2025          Dep’t of the Air Force, Acting Assistant Sec’y for Manpower & Readiness,
                          Additional Guidance for Executive Order 14183, ‘Prioritizing Military
 9
                          Excellence and Readiness.’10
10   04 March 2025        Office of the Undersecretary of Defense, Clarifying Guidance on
                          Prioritizing Military Excellence and Readiness: Retention and Accession
11                        Waivers.11
12   DATE: March 5, 2025
                                        s/ John Robinson
13                                      YAAKOV M. ROTH
                                        Acting Assistant Attorney General
14
                                        ALEXANDER K. HAAS
15                                      Director, Federal Programs Branch
16                                      JEAN LIN
                                        Special Litigation Counsel
17
                                        JASON C. LYNCH
18                                      JOHN ROBINSON
                                        ELIZABETH B. LAYENDECKER
19                                      Trial Attorneys
                                        United States Department of Justice
20                                      Civil Division, Federal Programs Branch
                                        1100 L Street NW
21                                      Washington, DC 20005
22         4
             ECF No. 58-3
           5
             ECF No. 58-4
23         6
             ECF No. 58-5
24         7
             ECF No. 58-6
           8
             ECF No. 58-7
25         9
             ECF No. 58-8
           10
              ECF No. 58-9
26         11
              Attached as Exhibit 1.
     NOTICE PURSUANT TO THE                                                            U.S. DEPARTMENT OF
     COURT’S ORDER                                                                            JUSTICE
     CASE NO. 2:25-CV-241-BHS                                                             1100 L Street NW
                                                                                        Washington, DC 20530
          Case 2:25-cv-00241-BHS   Document 64       Filed 03/05/25   Page 3 of 3




 1                              Telephone: 202.616.8489
                                john.j.robinson@usdoj.gov
 2
                                Attorneys for Defendants
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

     NOTICE PURSUANT TO THE                                                U.S. DEPARTMENT OF
     COURT’S ORDER                                                                JUSTICE
     CASE NO. 2:25-CV-241-BHS                                                 1100 L Street NW
                                                                            Washington, DC 20530
